 

	
	
	
	
	OSCN Found Document:SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2016 OK 21Decided: 02/29/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 21, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 


&nbsp;


RE: Suspension of Certificates of Certified Shorthand Reporters




ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the continuing education requirements for calendar year 2015 and/or with the annual certificate renewal requirements for 2016.

Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 15, 2016.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 29th day of FEBRUARY, 2016.


/S/CHIEF JUSTICE


Exhibit


	
		
			
			Name
			
			
			CSR #
			
			
			Reason
			
		
		
			
			Lori Byrd
			
			
			1981
			
			
			Continuing Education/Renewal
			
		
		
			
			Christina Ogle
			
			
			1088
			
			
			Continuing Education/Renewal
			
		
		
			
			Norma Rico
			
			
			1992
			
			
			Renewal
			
		
		
			
			Lisa Stockwell
			
			
			1969
			
			
			Continuing Education/Renewal
			
		
		
			
			Nikki Tate
			
			
			1608
			
			
			Continuing Education/Renewal
			
		
		
			
			Amy Taylor
			
			
			1993
			
			
			Renewal
			
		
		
			
			Renetta Thompson
			
			
			606
			
			
			Continuing Education
			
		
		
			
			&nbsp;
			
			
			&nbsp;
			
			
			&nbsp;
			
		
	


&nbsp;






	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
